

Troy-McKoy v Mount Sinai Beth Israel (2021 NY Slip Op 05838)





Troy-McKoy v Mount Sinai Beth Israel


2021 NY Slip Op 05838


Decided on October 26, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 26, 2021

Before: Gische, J.P., Webber, Mazzarelli, Pitt, JJ. 


Index No. 157291/20 Appeal No. 14487 Case No. 2021-00359 

[*1]Dervanna H.A. Troy-McKoy, Plaintiff-Appellant,
vMount Sinai Beth Israel, Defendant-Respondent.


Dervanna H.A. Troy-McKoy, appellant pro se.
Rubin, Fiorella, Friedman &amp; Mercante LLP, New York (Leila Cardo of counsel), for respondent.



Order, Supreme Court, New York County (Paul A. Goetz, J.), entered December 18, 2020, which granted defendant's motion to dismiss the complaint, unanimously affirmed, with costs.
Plaintiff's claims are all based on his allegation that a certain affidavit of service contains a forged version of his signature. A review of the affidavit reveals that it does not purport to contain plaintiff's signature at all but only those of the affiant and the notary public. Thus, the complaint was correctly dismissed as conclusively refuted by the documentary evidence, i.e., the affidavit of service. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 26, 2021








